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16
                        IN THE UNITED STATES DISTRICT COURT
17
                               FOR THE DISTRICT OF ARIZONA
18
19
      United States of America,                           CR-18-422-PHX-DJH
20
                           Plaintiff,                UNITED STATES’ RESPONSE TO
21                                                       DEFENDANTS’ FIRST
               v.                                     SUPPLEMENT TO MOTION TO
22                                                        DISMISS (Doc. 1972)
23    Michael Lacey, et al.,
24                         Defendants.
25
26
27
28
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 1                                SUMMARY OF ARGUMENT
 2          Defendants’ supplemental motion to dismiss or for other relief should be denied.
 3   The supplement is based on the United States’ recent disclosure of 18 emails from Carl
 4   Ferrer relating to the forfeiture phase of this case. The emails date from April to August
 5   2018, and they all involve Ferrer’s post-plea assistance with the United States’ efforts to
 6   locate Backpage-related assets for possible seizure and forfeiture. The Ferrer forfeiture
 7   emails do not concern the subject matter of Ferrer’s testimony during the guilt phase of the
 8   trial. Moreover, the lion’s share of the information in the emails had previously been
 9   disclosed to Defendants in other, more detailed documents, and Defendants thoroughly
10   cross-examined Ferrer at trial. Although under the United States’ broad disclosure policies
11   these emails would have likely been turned over earlier, their disclosure was not required
12   under the Jencks Act during the trial phase of this case. Even if otherwise, the United
13   States’ earlier non-disclosure of the Ferrer forfeiture emails was due entirely to
14   inadvertence, and the United States promptly produced the emails upon learning of them.
15   For these and other reasons explained below, the United States has conscientiously
16   complied with its discovery and disclosure obligations in this case—and Defendants’
17   requests for the extreme sanctions of dismissal or striking testimony should be denied.
18                                FACTUAL BACKGROUND
19   A.     The United States Promptly Disclosed the Ferrer Forfeiture Emails Upon
            Learning They Had Not Been Produced
20
21          On Thursday, November 9, 2023 Defendant Brunst orally moved to dismiss the case
22   based on an alleged Jencks violation related to Quoc Thai. (Docs. 1958, 1966, 1967.) The
23   Court ordered briefing by Monday, November 13, 2023, at noon. (Doc. 1958.) The United
24   States immediately started preparing an exhibit, later filed at Doc. 1966-7, comparing the
25   asset tracing document at issue (Doc. 1966-4) to seizure warrant affidavits filed in
26   California federal court in 2018 by Postal Inspector Lyndon Versoza (Docs. 1966-1, 1968-
27   1, 1968-2.) These affidavits were disclosed in this case in 2018. (Docs. 1966-5, 1966-6.)
28          In preparing Doc. 1966-7, the United States noticed a reference in one of the 2018


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 1   affidavits to email communications between Inspector Versoza and Carl Ferrer. (Doc.
 2   1968-2 at 59 (“Following [an] in-person interview [on April 17-18, 2018], I also have
 3   spoken with Ferrer on the phone and communicated via email.”). Because the prosecution
 4   team did not immediately recall whether the referenced emails had been disclosed as part
 5   of the several million documents produced in this case since 2018, the prosecution team
 6   asked Inspector Versoza to search his files for the referenced emails.
 7          On November 9, 2023, Inspector Versoza identified a sub-folder on his laptop titled
 8   “Emails re Carl” that was contained in his “Forfeiture” folder. Within that sub-folder he
 9   located another sub-folder titled “Saved.” Within the “Saved” sub-folder there were 18
10   emails between Versoza and Ferrer (the “Ferrer forfeiture emails”). The emails were saved
11   in a manner indicating to Inspector Versoza they had been previously produced. His emails
12   are automatically deleted unless he separately saves them to his computer, so he generally
13   only saves emails when he plans on producing them in discovery. Because he had saved
14   the Ferrer forfeiture emails, he believed they had been produced.
15          The prosecution team continued working through the weekend on its response to
16   Defendants’ motion to dismiss. On Monday, November 13, prosecutors asked IRS-CI
17   Special Agent Richard Robinson to search the Relativity database of discovery to
18   determine whether the Ferrer forfeiture emails had been produced. These searches require
19   some work due to the sheer size of discovery—over 11 million pages.
20          That evening, SA Robinson searched Relativity for Inspector Versoza’s email
21   address “(laversoza@uspis.gov)” and “Carl.” The search yielded two emails between
22   Inspector Versoza and Ferrer relating to the seizure of Backpage’s servers in April 2018.
23          The next day, Tuesday, November 14, Inspector Versoza shared the Ferrer forfeiture
24   emails with the prosecution team, and SA Robinson reported that he couldn’t find these
25   emails in the Relativity database. The prosecution team immediately determined that the
26   Ferrer forfeiture emails should be disclosed because they were arguably Jencks for the
27   then-upcoming forfeiture trial, and the United States wanted to disclose them as soon as
28   the trial team became aware of their existence. AUSA Rapp sent an email to defense


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 1   counsel at 12:02pm that tried to attach the emails. (Nov. 14, 2023 email from K. Rapp to
 2   defense counsel, attached as Exhibit 1 at 2.) Due to the size of the attachments, that email
 3   failed to send. Two hours later, the United States notified the defense that the emails had
 4   been uploaded to USAfx—an application the United States uses for document productions.
 5   B.     While The Ferrer Forfeiture Emails Did Not Relate To Ferrer’s Trial
            Testimony; The Lack of Prior Disclosure Was Entirely Inadvertent
 6
            Inspector Versoza’s main role in the Backpage investigation concerned asset
 7
     forfeiture. He was the affiant on multiple seizure warrants (Docs. 1966-1, 1968-1, 1968-2)
 8
     and the verified civil forfeiture complaint (Doc. 166-2) in the Central District of California.
 9
            The Ferrer forfeiture emails concerned asset forfeiture. In his plea agreement, Ferrer
10
     agreed to provide forfeiture assistance to the United States:
11
            b.     Forfeiture Assistance: The defendant stipulates and agrees that, upon
12          entry of his guilty plea, he will take all steps within his power to forfeit to the
13          United States all corporate assets and other property owned or controlled by
            Website Technologies, LLC (“Website Technologies”), which owns and
14          operates the Backpage website, as well as all corporate assets and other
15          property owned or controlled by Backpage.com [and related entities]. Such
            steps shall include, but not be limited to, agreeing to the forfeiture of the . . .
16          bank accounts, cryptocurrency, and other financial instruments owned or
17          controlled by such entities. . . .
     (United States v. Ferrer, 18-CR-464-DJH, Plea Agreement, Doc. 7-2 at ¶ 3(b).)
18
            The 18 Ferrer forfeiture emails all involve communications concerning assets that
19
     Inspector Versoza reviewed for possible identification and inclusion in his asset seizure
20
     warrant affidavits and/or the civil forfeiture complaint that he verified. 1
21
            Inspector Versoza intended to disclose these communications. First, he saved the
22
     emails so that the United States Postal Inspection Service system wouldn’t automatically
23
     delete them. Second, he segregated these emails into a separate folder, which is consistent
24
     with how he categorizes emails that will be produced in discovery. Third, he understood
25
     that all emails exchanged with trial witnesses should at least be provided to the prosecutors
26
27   1 Defendant Spear attached all the emails to his Supplemental Motion (Doc. 1972-1). To

28   ease the Court’s review, the United States has included all of Ferrer’s actual statements
     from these emails in the attached chart. (Chart attached as Exhibit 2.)

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 1   to analyze whether the emails constituted Jencks/Brady/Giglio or otherwise should be
 2   disclosed. On January 8, 2019, AUSA Rapp sent an email to the prosecution team that
 3   attached a draft witness list. (Email from K. Rapp to Prosecution Team, attached as Exhibit
 4   3.) In the email, AUSA Rapp wrote, “We have two pressing deadlines: Jencks statements
 5   are due to defense by 2/25 and witness list (and preliminary exhibit list) are due on 4/1. We
 6   will review the witness list on 1/14 to determine if all statements have been forwarded to
 7   Relativity.” (Id.) Inspector Versoza understood, both through this email and his training
 8   and experience, that emails with trial witnesses should be disclosed to the prosecutors to
 9   make a determination about whether the communications should be produced—even when,
10   as is the case here, the subject of the emails do not apply to the witness’s trial testimony.
11          On November 9, 2023, when Inspector Versoza reviewed the sub-folder containing
12   the Ferrer forfeiture emails, he believed that those emails had been disclosed. It wasn’t
13   until the evening of November 13, 2023, after SA Robinson searched the 11 million plus
14   pages of discovery in Relativity that the United States confirmed that the Ferrer forfeiture
15   emails had not been produced. When the United States learned this, it moved expeditiously
16   to produce the documents, sending the Ferrer forfeiture emails to Defendants the next day.
17   C.     The Ferrer Forfeiture Emails Cover Previously Disclosed Subjects
18          The Ferrer forfeiture emails cover subjects that have all been independently
19   disclosed to Defendants. First, generally, the emails pertain to Ferrer’s stipulation to “take
20   all steps within his power to forfeit to the United States all corporate assets and other
21   property owned or controlled by” the entity that owned and operated Backpage, and related
22   entities. (United States v. Ferrer, 18-CR-464-DJH, Plea Agreement, Doc. 7-2 at ¶ 3(b).)
23          Second, the majority of attachments in the Ferrer forfeiture emails related to
24   attorney IOLTA accounts that the United States subsequently seized. This is documented
25   in Inspector Versoza’s October 31, 2018 seizure warrant affidavit, which the United States
26   filed in the Central District of California in 2018, produced to Defendants in 2018, and
27   recently filed as Doc. 1968-1. Paragraphs 10(a)-10(q) outline 17 attorney IOLTA accounts
28   that received Backpage proceeds. (Doc. 1968-1 at 10-15.) The affidavit provides more


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 1   detailed information about these accounts than the attachments to the Ferrer forfeiture
 2   emails. (Compare Doc. 1968-1 at 10-15 with Ex. 2.)
 3          Third, one of the specific issues Defendant Spear argues was prejudicial relates to
 4   the money paid to Ferrer’s lawyers at the Clarence Dyer & Cohen law firm (“Clarence
 5   Dyer”). Defendant Spear points to a series of prepayments to lawyers representing a variety
 6   of entities and individuals associated with Backpage, including $4 million to Clarence
 7   Dyer. (See Feder Law email to Chambers and counsel dated 11/15/23 attaching Defense
 8   Exhibit 6273, attached as Exhibit 4.) But that figure does not shed light on the amount of
 9   money that Ferrer’s lawyers were paid after Ferrer pleaded guilty and agreed to cooperate
10   with the United States in April 2018.
11          Here are the relevant facts that relate to Ferrer’s representation by Clarence Dyer.
12   Between Backpage’s sale to Ferrer in 2015 and Ferrer’s guilty plea in April 2018,
13   Backpage paid millions of dollars to over a dozen law firms. (Doc. 1968-1 at ¶¶ 10(a)-
14   10(q).) According to Ferrer, Defendant Brunst and Don Bennett Moon would direct Ferrer
15   to make these payments. (Ferrer MOI, dated June 11, 2019, at ¶ 2, attached as Exhibit 5.)
16   As Ferrer explained, “Early on there would be invoices and they wouldn’t make payments
17   without an invoice. Later on payments to law firms were all retainers. Backpage staff would
18   be told to send a check to a given law firm.” (Ex. 5 at ¶¶ 2(a)-(b).)
19          In October 2016, Clarence Dyer began representing Ferrer. (Doc. 193-9, ¶ 8.)
20   Backpage paid Clarence Dyer substantial sums well before Ferrer pleaded guilty in April
21   2018. A portion of that money is captured by the disclosed bank records:
22       Date          Payee             Type   Amount                  Bates No     Disclosure Date

23                     Clarence Dyer &                                  DOJ-BP-
24       3/20/2017     Cohen LLP         Wire   $          250,000.00   0004921163   January 13, 2020
25                     Clarence Dyer &                                  DOJ-BP-
26       3/20/2017     Cohen LLP         Wire   $          250,000.00   0004921164   January 13, 2020
27       3/30/2017     Clarence Dyer & Wire     $          79,733.13    DOJ-BP-      January 13, 2020
28


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 1                      Cohen LLP                                          0004921164

 2                      Clarence Dyer &                                    DOJ-BP-

 3          4/27/2017   Cohen LLP         Wire   $            500,000.00   0005036155   January 13, 2020
 4                      Clarence Dyer &                                    DOJ-BP-

 5          7/14/2017   Cohen LLP         Wire   $            143,552.56   0005036173   January 13, 2020
 6                      Clarence Dyer &                                    DOJ-BP-
 7          9/28/2017   Cohen LLP         Wire   $            154,565.23   0005039710   January 13, 2020
 8                                               $          1,377,850.92
 9
     (Jan. 13, 2020, discovery letter, attached as Exhibit 6.)
10
              Ferrer’s plea agreement makes clear that he could use money paid by Backpage to
11
     Clarence Dyer before his guilty plea, but “any funds remaining in the . . . IOLTA bank
12
     accounts at the conclusion of the litigation” were subject to forfeiture. (United States v.
13
     Ferrer, 18-CR-464-DJH, Doc. 7-2 at ¶ 8(a).) Defendants Lacey, Spear, and Brunst all filed
14
     verified petitions asserting that they each had a “right, title, and interest” in the Clarence
15
     Dyer IOLTA accounts. (18-CR-464-DJH, Doc. 29 at 12, Doc. 33 at 13-14, Doc. 34 at 12-
16
     13.)
17
              The amount of money paid by Backpage to Clarence Dyer before Ferrer pleaded
18
     guilty in April 2018 is of no relevance. The key question, as asked by defense attorneys
19
     during Ferrer’s cross examination, is how much money Ferrer’s attorneys were permitted
20
     to keep after his agreement to cooperate with the United States.
21
              At trial, Ferrer was questioned at length about his cooperation with the United States
22
     and benefits he received. Ferrer testified on direct examination that he pleaded guilty to
23
     crimes in federal court and Texas and California state courts, and that part of his guilty
24
     pleas included providing assistance to investigators and prosecutors. (9/22/23 A.M. Daily
25
     Tr. at 53.) He knew his assistance could be considered at sentencing, but acknowledged
26
     that no promises had been made regarding what his sentences would be. (Id.)
27
              On cross-examination, defense counsel highlighted many benefits of Ferrer’s
28


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 1   cooperation. Defense counsel questioned Ferrer about whether he knew, when he pled
 2   guilty in April 2018, about the sentence he’d be facing if he did not plead guilty; in
 3   response, Ferrer testified “I do have a recollection that it was substantial[.]” (9/26/23 A.M.
 4   Daily Tr. at 67-68.) Counsel underscored the potential sentencing benefits of cooperation.
 5   (9/26/23 A.M. Daily Tr. at 70-71; see also 9/28/23 A.M. Daily Tr. at 99-100.) Ferrer
 6   testified that the prosecutors “have complete discretion to advocate for” him at sentencing.
 7   (9/26/23 A.M. Daily Tr. at 73; see also 9/28/23 A.M. Daily Tr. at 104-108 (same).)
 8          Defense counsel questioned Ferrer about assets he had “been allowed to keep” as
 9   part of his agreement with the government. These assets included Ferrer’s personal
10   residence in Frisco, Texas (9/28/23 P.M. Daily Tr. at 10); a “multi-million dollar” residence
11   that was purchased in cash for his now ex-wife with Backpage proceeds (9/28/23 P.M. at
12   12-14); a Mercedes vehicle that he purchased right before he entered the plea (9/26/23 AM
13   Daily Tr. at 74); and a speedboat and another Mercedes vehicle purchased for his ex-wife
14   with Backpage proceeds (9/28/23 P.M. Daily Tr. at 12-14).
15          Defense counsel also asked whether part of Ferrer’s motivation for pleading guilty
16   and cooperating involved “being able to retain money that was from BP to pay the large
17   attorneys’ fees that you spoke about . . .?” (9/26/23 P.M. Daily Tr. at 15-16.). Ferrer
18   answered, “[I]t is a benefit.” (9/28/23 P.M. Daily Tr. at 16.) Counsel questioned Ferrer
19   about how much money Ferrer’s lawyers had been paid since they began talking with
20   prosecutors in February 2018, and Ferrer answered that he did not know:
21          Q. You don’t know if it’s been millions of dollars, hundreds of thousands of
            dollars, $5, no information whatsoever?
22          A. Well, obviously I know it’s not; it’s more than $5.
            Q. Okay. Let’s try this out, how about over a $100,000?
23          A. Yes.
            Q. How about over a million dollars?
24          A. I don’t think so.
25   (9/26/23 A.M. Daily Tr. at 8).)
26          Defense counsel focused on “the Backpage money that’s being used to pay your
27   lawyers for the last five years”—since Ferrer agreed to cooperate in 2018. (9/26/23 A.M.
28   Daily Tr. at 18-19.) Ferrer testified that his lawyers were being paid from a “prepaid


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 1   account,” and that “the balance that’s being used to pay my lawyers, whatever is left over
 2   will be forfeited.” (9/26/23 A.M. Daily Tr. at 18-19.) Ferrer testified that he did not know
 3   how much had been charged against that account, or its remaining balance. (9/26/23 A.M.
 4   Daily Tr. at 18-19.) Another defense lawyer asked Ferrer about “the amount that was
 5   deposited into [his] attorney trust account (10/10/23 A.M. Daily Tr. at 105). The question
 6   did not clarify the time frame involved, and Ferrer testified that he could not recall the
 7   amount that had been placed in his attorney trust account. (10/10/23 A.M. Daily Tr. at 106.)
 8          Other documents show that, by April 2018, Backpage and Ferrer, had no idea how
 9   much of the $4 million pre-paid to Clarence Dyer remained. Indeed, one of the attachments
10   to the Ferrer forfeiture emails listed Clarence Dyer in a category titled, “other potential
11   liabilities bills not received.” (USAO-BP-0038120, attached as Exhibit 7.) In that
12   spreadsheet, Clarence Dyer is listed as having “potential work not billed.” (Id.) In the same
13   spreadsheet, Davis Wright Tremaine is listed under the Backpage payables section as being
14   owed over $380,000. (Id.) This despite Davis Wright Tremaine receiving $6.25 million—
15   as documented in the same spreadsheet sent by Website Technologies Controller Stefanie
16   Parks, that listed the $4 million sent to Clarence Dyer. (Ex. 4 at 4.)
17          In short, Defendants knew that a benefit Ferrer received under his plea agreement
18   was that his Clarence Dyer attorneys could continue to use the money paid to the firm by
19   Backpage. The Ferrer forfeiture emails did not disclose how much money was available to
20   that firm as of the time that Ferrer pleaded guilty.
21                                          ARGUMENT
22   I.     The Ferrer Forfeiture Emails and Attachments Aren’t Jencks
23          A.     The Emails Are Not Jencks
24          The Jencks Act states that, after a government witness has testified at trial, “the
25   court shall, on motion of the defendant, order the United States to produce any statement
26   (as hereinafter defined) of the witness in the possession of the United States which relates
27   to the subject matter as to which the witness has testified.” 18 U.S.C. § 3500(b). As
28   pertinent here, the Act narrowly defines a “statement” as “a written statement made by said


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 1   witness and signed or otherwise adopted or approved by him[.]” 18 U.S.C. § 3500(e)(1).
 2          Defendants have the burden “to show that the [materials at issue] qualify . . . as
 3   witness’s ‘statements’ for purposes of the Jencks Act.” United States v. Michaels, 796 F.2d
 4   1112, 1117 (9th Cir. 1986). Here, the 18 emails at issue do not qualify as “a written
 5   statement made by [Ferrer] and signed or otherwise adopted or approved by him” that
 6   “relates to the subject matter as to which [Ferrer] has testified.” 18 U.S.C. § 3500(b), (e)(1).
 7          Ferrer’s statements in the emails did not relate to the subject matter of his trial
 8   testimony. Ferrer’s testimony, particularly on direct examination, involved Defendants’
 9   activities during Backpage’s existence. It did not address the details of the assistance Ferrer
10   rendered to the United States after Backpage shut down—and after he pleaded guilty and
11   agreed to assist the United States in identifying Backpage-related assets for possible seizure
12   and forfeiture. But that is the exact subject matter of the Ferrer forfeiture emails.
13          Notably, the emails fall within a narrow band of time from April to August 2018
14   (following Ferrer’s April 5, 2018 guilty plea). All of the emails were aimed at keeping
15   Inspector Versoza informed about Backpage’s assets, including their location and amounts,
16   so that the assets could be properly identified and/or seized for forfeiture purposes. Many
17   of Ferrer’s statements in the emails were questions to Backpage Controller Stefanie Parks
18   seeking details about which accounts held what money for forfeiture purposes. In other
19   instances, Ferrer’s emails merely transmitted or forwarded the statements of others, e.g.,
20   Parks, in response to questions from Inspector Versoza. (Ex. 2 at 1-4, 6 (“See attached info
21   you requested”; “See below and attached”; “Here is the info you need.”).)
22          The most voluminous email statements by Ferrer are the first email, dated April 20,
23   2018. (Ex. 2 at 1.) In that email, Ferrer tried to explain where bank accounts were located
24   and their balances for purposes of seizure and forfeiture. Thus, the email relates to Ferrer’s
25   anticipated testimony in the forfeiture phase of the case, not the guilt phase. On July 9-10,
26   2018, Ferrer sent emails to Parks asking about how much an entity owed Backpage, and
27   indicating that the receivables could be something the United States might seek for
28   forfeiture. (Ex. 2 at 1-2.) Ferrer then forwarded Parks’s responses to Inspector Versoza.


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 1          A few days later, on July 13, 2018, Ferrer emailed Parks and directed her to send
 2   him a document containing “prepayments and prepayments to attorneys,” and a master list
 3   of monies transferred to the United States, again for purposes of asset forfeiture. (Ex. 2 at
 4   2-3.) The attachment to this email—from Parks—contains the $4 million prepaid line item
 5   to Ferrer’s counsel, Clarence Dyer, identified in Defendants’ supplemental motion. (See
 6   Suppl. at 3; Ex. 4 at 4.) The same day, July 13, 2018, Ferrer also forwarded information to
 7   Inspector Versoza about a company, Paymitco, that owed Backpage money, again for
 8   collection and forfeiture purposes. (Id.)
 9          On July 17, 2018, Ferrer forwarded documents and discussed money transferred
10   from CryptoCapital. (Ex. 2 at 3.) On July 19, 2018, he responded to a question from
11   Inspector Versoza about Backpage’s payroll in February 2014. (Ex. 2 at 3.) On July 26,
12   2018, Ferrer informed Michael Gage that a bank account should be maintained, and
13   forwarded the exchange to Inspector Versoza. (Ex. 2 at 3.)
14          On August 2, 2018, Ferrer forwarded emails between Versoza and Parks with
15   nothing more than a “see below” or “see attached” added to those chains. (Ex. 2 at 3.) On
16   August 3, 2018, Ferrer described a conversation with Parks. He tried to explain payments
17   made in May that are reflected on an attached spreadsheet. Again, this relates not to his
18   testimony at trial, but to the forfeiture phase. (Ex. 2 at 3-4.) Also on August 3, 2018, Ferrer
19   sent an email regarding attorneys he had previously hired and funds used to pay them; he
20   also forwarded exchanges between Parks and Versoza regarding monies used to pay a
21   victim. (Ex. 2 at 4.) On August 6, 2018, Ferrer again discussed accounts and what could be
22   done with them for seizure/forfeiture purposes. (Ex. 2 at 4-5.) On August 7, 2018, Ferrer
23   directed Parks about instructions from Inspector Versoza relating to a cryptocurrency
24   account. (Ex. 2 at 5.) On August 21, 2018, Ferrer inquired of Inspector Versoza what to do
25   with about $40,000 in an account. (Ex. 2 at 5.) This too deals with forfeiture issues as it
26   relates to the seizure of monies earned by Backpage.
27          Because none of these statements related to the subject matter of Ferrer’s trial
28   testimony, the United States did not have to disclose them as Jencks during the guilt phase


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 1   of the trial.
 2           B.      The Attachments
 3           Most of the emails from Ferrer between April and August 2018 contain attachments.
 4   But the attachments to the emails from Ferrer do not qualify as Jencks statements. “The
 5   Jencks value of a statement is defined by the identity of the speaker and quality of the
 6   speech, not the medium for communicating the statement.” United States v. Pac. Gas &
 7   Elec. Co., 2016 WL 3185008, at *8 (N.D. Cal. June 8, 2016). Indeed, in United States v
 8   PG&E, the defendant argued that because the United States disclosed certain emails under
 9   an early Jencks disclosure policy, that “necessarily renders any attached documents Jencks
10   materials.” Id. But the district court found “[t]his argument is utterly lacking in merit,”
11   ruling that the attachments did not have to be disclosed by the United States. Id.
12           The spreadsheet attachments are not “written statements made by” Carl Ferrer. The
13   attachments were not authored or made by him, but rather by Backpage’s Controller,
14   Stefanie Parks. It is unknown what information she relied upon to prepare the spreadsheets.
15   Because Ferrer was not the author of the spreadsheets, nor did he contribute substantively
16   to them, they aren’t a “written statement made” or adopted or approved by him.
17   Accordingly, they were not Ferrer’s “statements” and do not require production under the
18   Jencks Act. See, e.g., United States v. Reed, 575 F.3d 900, 921 (9th Cir. 2009) (no Jencks
19   Act violation where there was no evidence that the statements were made, adopted or
20   approved by any of the witnesses); United States v. Bettencourt, 614 F.2d 214, 215-16 (9th
21   Cir. 1980) (when government witness testified based on the report of another officer, the
22   Jencks Act did not cover the report because it “was not ‘made by’ the witness”); United
23   States v. Blas, 947 F.2d 1320, 1327 and n.6 (7th Cir. 1991) (reports reviewed by the
24   witness—but not authored by him—were not Jencks Act “statements”).
25           Even if Ferrer “adopted or approved” the spreadsheets, they aren’t Jencks because
26   they didn’t relate to Ferrer’s trial testimony. Importantly, Ferrer was questioned by neither
27   the United States nor any defense counsel about his efforts in assisting Inspector Versoza
28   in locating assets for forfeiture after he agreed to cooperate in April 2018. Therefore, the


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 1   18 emails and their attachments did not relate to his testimony and, again, did not constitute
 2   Jencks. United States. v. Butenko, 384 F.2d 554, 568 (3d Cir. 1967), vacated on other
 3   grounds, 394 U.S. 165 (1969) (“a defendant is not entitled to statements when they do not
 4   relate to the subject matter as to which the witness has testified on direct examination, even
 5   though they relate to the subject matter of the indictment, information or investigation”;
 6   “Congress was very careful” in so limiting the Jencks Act’s scope); United States v. Bin
 7   Laden, 397 F. Supp. 2d 465, 501 (S.D.N.Y. 2005) (“[A]s the Jencks Act itself makes clear,
 8   a statement’s mere relation to the subject matter at issue in a case does not render it
 9   producible”; “only a statement related to a witness’s testimony is producible.”).
10   II.    The United States Acted in Good Faith and Defendants Suffered No Prejudice 2
11          Even if the Court finds that these materials otherwise qualified as Jencks statements,
12   the United States acted in good faith and the recent disclosure did not prejudice Defendants.
13          The Court has discretion not to impose sanctions for noncompliance with the Jencks
14   Act. United States v. Echeverry, 759 F.2d 1451, 1456 (9th Cir. 1985). Whether to impose
15   a Jencks Act remedy “generally depend[s] on (1) a consideration of the culpability of the
16   government, and (2) the injury resulting to the defendants.” Echeverry, 759 F.2d at 1456.
17   “[W]hen there is no prejudice, a witness’s testimony need not be stricken.” Reed, 575 F.3d
18   at 921 (citation omitted). See, e.g., United States v. Sterling, 742 F.2d 521, 524-25 (9th Cir.
19   1984) (no abuse of discretion to decline Jencks sanctions where other available materials
20   enabled a vigorous cross-examination).
21          Indeed, no sanctions are required “where the government acted in good faith” and
22   an “acceptable substitute or summary” was available. United States v. Cardenas-Mendoza,
23   579 F.3d 1024, 1031-32 (9th Cir. 2009). See Echeverry, 759 F.2d at 1456 (upholding denial
24   of sanctions where non-disclosure “was inadvertent and not in bad faith,” the United States
25
     2 To the extent Defendants attempt to frame their supplement as a Brady issue, the Court
26
     should resolve the matter under the rubric of Jencks: “When the defense seeks evidence
27   which qualifies as both Jencks Act and Brady material, Jencks Act standards control.”
     United States v. Jones, 612 F.2d 453, 455 (9th Cir. 1979); accord United States v. Alvarez,
28   358 F.3d 1194, 1211 (9th Cir. 2004); see also United States v. Gomez, 2014 WL 231984,
     at *5 (N.D. Cal. Jan. 21, 2014) (“the Jencks Act trumps Brady”) (citation omitted).

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 1   produced other Jencks Act material before trial, and the material at issue “[was] generally
 2   duplicative of information previously disclosed” such that the defense was “not deterred
 3   from a thorough cross-examination”); Sterling, 742 F.2d at 525 (affirming no sanctions
 4   where “the government’s failure was totally inadvertent,” the government had “dutifully
 5   endeavored to comply with” the Act, and “counsel was able vigorously to cross-examine
 6   [with] available materials”); United States v. Finnegan, 568 F.2d 637, 642 (9th Cir. 1977)
 7   (no sanctions where “[t]he record show[ed] the trial court’s satisfaction that this witness
 8   was examined ‘quite thoroughly’”).
 9          A.     The Non-Disclosure Was Entirely Inadvertent
10          The United States’ non-disclosure was totally inadvertent and not due to any willful
11   attempt to conceal statements. When Inspector Versoza located the Ferrer forfeiture emails,
12   he believed they had already been disclosed because of how they had been saved and
13   segregated. It wasn’t until the evening of November 13, 2023, when Agent Robinson
14   searched more than 11 million pages produced in discovery, that the United States learned
15   the emails had not been produced. The United States produced them the next day. These
16   facts are similar to United States v. Dupuy, 760 F.2d 1492, 1497 (9th Cir. 1985), where:
17          The court’s finding that the prosecutor had acted in good faith was based
            upon the prosecutor’s prompt disclosure (within a few hours) upon discovery
18          of the document. The late discovery was due to the volume of the documents
            and the fact that a case agent had been directed to go through the file and
19          make copies of all pertinent documents to give to the defendants. Although
            he found the unedited version, he failed to discover the edited version. This
20          oversight could not be labeled as a “willful avoidance and egregious
            dereliction of the prosecutor’s statutory obligation.” [citation omitted]
21          Neither a mistrial nor a striking of Jackson’s testimony was required.
22   See also, e.g., United States v. Paillet, 668 F. App’x 256 (9th Cir. 2016) (no abuse of
23   discretion where record did not show prejudice or “anything more than mere negligence”).
24          Moreover, the United States endeavored to comply with 18 U.S.C. § 3500
25   throughout this case. The plea agreements that extended benefits to Ferrer and related
26   Backpage entities were disclosed months after Defendants’ indictment and arrest. (See,
27   e.g., CR 18-465-PHX-DJH, Doc. 7-1.) The parties then negotiated a series of scheduling
28   orders (see, e.g., Doc. 121), which were adopted by this Court. (See, e.g., Doc.


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 1   131.) Among other things, the parties agreed to disclose Jencks Act information in advance
 2   of trial. (See id. at 2.) The United States then disclosed Jencks Act statements of Ferrer
 3   years before 18 U.S.C. § 3500 required, and notified the Court. (Doc. 733.) In addition, the
 4   vast majority of Jencks Act statements were email exchanges between Ferrer and co-
 5   conspirators, including Defendants, which were disclosed well before trial. Many were
 6   included on the United States’ exhibit list and admitted at trial.
 7          B.     Defendants Suffered No Prejudice Because They Received Similar
                   Information and Subjected Ferrer to Extensive Cross-Examination
 8
 9          The Ferrer forfeiture emails involved information about specific assets, including

10   IOLTA account payments, that were described in even greater detail in other documents

11   long ago produced to Defendants. (Compare Doc. 1968-1 at 10-15 with Ex. 2). Cf.

12   Rosenberg v. United States, 360 U.S. 367, 371 (1959) (no prejudice where the same

13   information is available to defendant).

14          Moreover, Defendants had an arsenal of facts regarding the benefits that Ferrer

15   received or could receive as a result of his cooperation with the United States—and they

16   broadly cross-examined him regarding those benefits at trial. Defendants had access to

17   Ferrer’s guilty plea and cooperation addendum; the Preliminary Order of Forfeiture—

18   which specified the precise benefits Ferrer negotiated with the United States relating to his

19   attorneys’ fees, see CR-18-464-DJH, Doc. 2 at 13-14; and millions of documents produced

20   in discovery, including nearly $1.4 million in bank wires of payments to Ferrer’s personal

21   attorneys that predated his cooperation.

22          Defendants have failed to demonstrate how their cross-examination of Ferrer would

23   have been any different had the forfeiture emails been known to them earlier. After Ferrer

24   testified on direct for approximately seven trial days, five defense attorneys cross-

25   examined him over four full trial days—spanning September 22, 26, 27, 28, 29, and

26   October 10, and covering about 786 transcript pages.

27          As pertinent to Defendants’ supplement, the key question, as asked by defense

28   attorneys during Ferrer’s cross examination, is how much money Ferrer’s attorneys were


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 1   permitted to keep after his agreement to cooperate with the United States. Counsel
 2   questioned Ferrer about how much money Ferrer’s lawyers had been paid since they began
 3   talking with prosecutors in February 2018, and Ferrer answered that he did not know.
 4   (9/26/23 A.M. Daily Tr. at 8.) While he didn’t think they had been paid over a million
 5   dollars, he was unable to provide the information requested by defense counsel. (9/26/23
 6   A.M. Daily Tr. at 8.) Ferrer testified that his lawyers were being paid from a “prepaid
 7   account,” and that “the balance that’s being used to pay my lawyers, whatever is left over
 8   will be forfeited.” (9/26/23 A.M. Daily Tr. at 18-19.) Ferrer testified that he did not know
 9   how much had been charged against that account, or its remaining balance. (9/26/23 A.M.
10   Daily Tr. at 18-19.) The bottom line is that Ferrer was unsure of the balance that remained
11   after he began cooperating—and Stefanie Parks’s spreadsheet showing a $4 million
12   payment before cooperation was irrelevant to his testimony on that point.
13          To the extent Defendants argue that they could have refreshed Ferrer’s memory with
14   the spreadsheet and further impeached him in some way, Defendants have failed to
15   demonstrate how such information would have moved the needle for the jury. The jury
16   clearly engaged in a thoughtful and careful deliberation, finding no defendant guilty of all
17   charged counts, finding Lacey guilty of one count, and acquitting Padilla and Vaught
18   altogether. Given the robust cross-examination of Ferrer and extensive closing arguments
19   focused on his credibility, it’s difficult to conclude that the jury would have rendered a
20   more favorable decision based on this additional information.
21          In sum, Defendants vigorously crossed Ferrer, and production of the Ferrer
22   forfeiture emails would not have materially added to the cross-examinations’ effectiveness.
23   No Jencks Act remedy should be imposed. See, e.g., United States v. Dobbs, 357 F. App’x
24   767, 770 (9th Cir. 2009) (“As in [Dupuy], the late disclosure did not prejudice Defendant,
25   and there is no evidence of bad faith. There also is no ‘reasonable probability that, had the
26   evidence been [timely] disclosed to the defense, the result of the proceeding would have
27   been different.’”) (citation omitted); United States v. Adams, 938 F.2d 96, 98 (8th Cir.
28   1991) (affirming denial of sanctions were the belatedly produced statement “would not


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 1   have materially added to the [cross-] examination’s effectiveness”).
 2          Defendants’ request for the extraordinary remedy of dismissal is particularly
 3   misplaced. “A district court may dismiss an indictment on any of three grounds: (1) due
 4   process, (2) inherent supervisory powers (protecting the integrity of the judicial process),
 5   and (3) statutory grounds.” Reed, 575 F.3d at 921 (citation omitted). Dismissal “is a drastic
 6   measure” that is disfavored. United States v. Isgro, 974 F.2d 1091, 1098 (9th Cir. 1992).
 7          The Jencks Act’s text does not authorize dismissal. See 18 U.S.C. § 3500(d).
 8   Nevertheless, “[a] district court may exercise its supervisory power ‘to implement a remedy
 9   for the violation of a recognized statutory or constitutional right; to preserve judicial
10   integrity by ensuring that a conviction rests on appropriate considerations validly before a
11   jury; and to deter illegal future conduct.” United States v. Chapman, 524 F.3d 1073, 1085
12   (9th Cir. 2008) (citations omitted). But “because dismissing an indictment with prejudice
13   encroaches on the prosecutor’s charging authority, this sanction may be permitted only in
14   cases of flagrant prosecutorial misconduct.” Id. at 1085 (quotations and citation omitted).
15   “[F]lagrant misconduct cannot be an accidental or merely negligent failure to disclose[.]”
16   United States. v. Bundy, 968 F.3d 1019, 1038 (9th Cir. 2020).
17          The United States non-disclosure of Ferrer’s forfeiture emails was at most
18   “accidental or merely negligent.” Id. Before trial, the United States disclosed millions of
19   documents, including memoranda of numerous interviews with Ferrer and other witnesses,
20   Ferrer and Backpage’s plea agreements, and Ferrer’s cooperation addendum. Post-trial,
21   within a day of confirming that the email subfolder containing the Ferrer forfeiture emails
22   had not been produced, the prosecutor wrote to defense counsel to inform them of the
23   oversight and provide the emails. That’s the opposite of “flagrant misconduct”—and
24   Defendants’ motion should be denied. See, e.g., United States v. Sanft, 2023 WL 5428065,
25   at *10 (W.D. Wash. Aug. 23, 2023) (denying motion to dismiss where the government had
26   conscientiously complied with its discovery obligations and promptly notified the defense
27   about its discovery of inadvertently non-disclosed material).
28          For the same reasons, Brady and Giglio do not apply. See Jones v. Ryan, 691 F.3d


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 1   1093, 1102 (9th Cir. 2012). As shown above, the emails all involved Ferrer’s post-plea
 2   assistance with identifying assets for seizure and forfeiture—and Defendants have long
 3   known about Ferrer’s guilty plea and cooperation. Defendants subjected Ferrer to a
 4   thorough four-day cross examination. There was no suppression of material exculpatory or
 5   impeachment evidence, and Defendants were not prejudiced.
 6   III.   Defendants’ Supplement Raises Other Issues that Do Not Warrant Relief
 7          A.     Double-Bates Stamps
 8          The United States discovered that the Ferrer forfeiture emails likely were not
 9   produced on Monday evening, November 13—and produced them the next day. In its
10   haste, the United States inadvertently used Bates numbers that had been used for other
11   documents. (See Ex. 1 at 1.) On November 16, 2023, the United States sent defense counsel
12   an email correcting this discrepancy. (Id. (“After review we determined that thirteen
13   documents in Disclosure 51 had bates numbers that overlapped with the documents
14   provided in Disclosure 48. Those thirteen documents have been renumbered and . . . should
15   no longer overlap with the documents provided in Disclosure 48.”).) The United States has
16   resolved this issue.
17          B.     Proton Mail
18          Defendants’ assertion that they were prejudiced because the Ferrer forfeiture emails
19   revealed Ferrer’s use of Proton Mail is a nonstarter. (Supp. at 3-4.) Defendants have long
20   known that Ferrer—like Defendants Lacey, Spear, and Brunst—all switched to Proton Mail
21   in 2016. (9/21/23 P.M. Daily Tr. at 78-79 (Ferrer testifying that they switched to Proton
22   Mail because it’s “an email service provider that would be difficult . . . for the Government
23   to subpoena”); Ferrer 2/5/19 MOI, at ¶ 130, attached as Exhibit 8 (“Ferrer began using
24   ProtonMail after [his 2016 California arrest]”).) This is no surprise: many trial exhibits
25   showed Ferrer’s and other Defendants’ exchanges of Proton Mails during the charged
26   conspiracy. (See Trial Exs. 1235-38, 1240, 1242-43, 1246.)
27                                        CONCLUSION
28          Defendants’ supplemental motion to dismiss or for other relief should be denied.


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 1          Respectfully submitted this 27th day of November, 2023.
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11
12
13                               CERTIFICATE OF SERVICE
14          I hereby certify that on November 27, 2023, I electronically transmitted the attached
15   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
16   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
17   as counsel of record.
18
19   s/ Daniel Parke

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